Case 3:19-cv-00160-WQH-BLM Document 14 Filed 02/08/19 PageID.188 Page 1 of 4




  1   PANAKOS LAW, APC
      Aaron D. Sadock (SBN 282131)
  2   555 West Beech Street, Suite 500
      San Diego, California 92101
  3   Telephone: (619) 800-0529
      Facsimile: (866) 365-4856
  4
      LAW OFFICES OF DANIEL A. KAPLAN
  5   Daniel A. Kaplan (SBN 179517)
      555 West Beech Street, Suite 230
  6   San Diego, California 92101
      Telephone: (619) 685-3988
  7   Facsimile: (619) 684-3239
  8   Attorneys for Defendants
  9
      Girlsdoporn.com, Michael J. Pratt,
      Andre Garcia, Matthew Wolfe,
 10   BLL Media, Inc., BLL Media Holdings,
 11
      LLC, EG Publications, Inc., M1M Media,
      LLC, Merro Media, Inc., and Merro Media
 12   Holdings, LLC
 13   George D. Rikos (SBN 204864)
      LAW OFFICES OF GEORGE RIKOS
 14   225 Broadway, Suite 2100
      San Diego, California 92101
 15   Telephone: (858) 342-9161
      Facsimile: (858) 724-1453
 16
      Attorneys for Defendant
 17   DOMI Publications, LLC
 18

 19                      UNITED STATES DISTRICT COURT
 20                    SOUTHERN DISTRICT OF CALIFORNIA
 21

 22

 23

 24

 25

 26

 27

 28                                -1-
        DEFENDANTS’ NOTICE OF JOINT MOTION AND JOINT MOTION FOR
                         DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14 Filed 02/08/19 PageID.189 Page 2 of 4



      JANE DOE NOS. 1-14, inclusive,                   Case No. 19cv0160-WQH-BLM
  1   individuals;
  2                 Plaintiffs,                        DEFENDANTS’ NOTICE OF
                                                       JOINT MOTION AND JOINT
  3   v.                                               MOTION FOR DISCOVERY
                                                       SANCTIONS
  4   GIRLSDOPORN.COM, a business
      organization, form unknown;                      Date:            TBD
  5   MICHAEL J. PRATT, an individual;                 Time:            TBD
      ANDRE GARCIA, an individual;                     Judge:           Hon. Barbara L. Major
  6   MATTHEW WOLFE, an individual;
      BLL MEDIA, INC., a California
  7   corporation; BLL MEDIA
      HOLDINGS, LLC, a Nevada limited                  Filed: January 24, 2019
  8   liability company; DOMI
      PUBLICATIONS, LLC, a Nevada                                  [IMAGED FILE]
  9   limited liability company; EG
      PUBLICATIONS, INC., a California
 10   corporation; MlM MEDIA, LLC, a
      California limited liability company;
 11   BUBBLEGUM FILMS, INC., a
      business organization, form unknown;
 12   OH WELL MEDIA LIMITED, a
      business organization, form unknown;
 13   MERRO MEDIA, INC., a California
      corporation; MERRO MEDIA
 14   HOLDINGS, LLC, a Nevada limited
      liability company; and ROES 1 - 500,
 15   inclusive,
 16                    Defendants.
 17

 18   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 19          PLEASE TAKE NOTICE that on a date and at a time to be determined by
 20   the Hon. Barbara L. Major1, in Suite 1110 on the 11th Floor of the above entitled
 21   court located at 333 West Broadway, San Diego, CA 92101, Defendants DOMI
 22   PUBLICATIONS, LLC, GIRLSDOPORN.COM, MICHAEL J. PRATT, ANDRE
 23   GARCIA, MATTHEW WOLFE, BLL MEDIA, INC., BLL MEDIA HOLDINGS,
 24   LLC, EG PUBLICATIONS, INC., M1M MEDIA, LLC, MERRO MEDIA, INC.,
 25

 26
             1
               George Rikos, counsel for defendant Domi Publications, LLC, spoke with Judge
 27   Major’s clerk, Brittany, who advised him that Judge Major would issue a scheduling order and
      set a hearing date upon receipt of the moving papers.
 28                                   -2-
           DEFENDANTS’ NOTICE OF JOINT MOTION AND JOINT MOTION FOR
                            DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14 Filed 02/08/19 PageID.190 Page 3 of 4




  1   and MERRO MEDIA HOLDINGS, LLC (collectively, “Defendants”), will jointly
  2   move the Court for discovery sanctions against Plaintiffs and their counsel,
  3   including the exclusion of any all testimony from Audrey Pina and Kailyn Wright
  4   at trial, striking their deposition testimony, and the imposition a monetary sanction
  5   against Plaintiffs and their attorneys of $5,650, with $3,150 to defendant Domi
  6   Publications, LLC, and $2,500 to the remaining defendants listed above.
  7         This Joint Motion is brought pursuant to Federal Rules of Civil Procedure
  8   rules 26 and 37, and Local Rule 83.1, on the grounds that Plaintiffs conducted
  9   discovery in violation of (1) the Court’s January 25, 2019 Scheduling Order (Dkt.
 10   # 5), (2) the stay issued in the State Court Action, and (3) Federal Rules of Civil
 11   Procedure rule 26(d)(1) prohibiting discovery before the Rule 26(f) conference.
 12         This Joint Motion is based on this Notice of Joint Motion, the concurrently
 13   filed Memorandum of Points and Authorities, Declaration of George D. Rikos,
 14   Declaration of Aaron D. Sadock, and all of the pleadings, transcripts, and records
 15   on file in this action, and such other further argument or evidence as may be
 16   presented or judicially noticed at the time of hearing on this Joint Motion.
 17

 18   Date: February 8, 2019                 LAW OFFICES OF GEORGE RIKOS
 19

 20                                               By:   /s/ George Rikos
                                                        George Rikos
 21                                                     Attorneys for Defendant
                                                        DOMI Publications, LLC
 22

 23   Date: February 8, 2019                 PANAKOS LAW, APC
 24

 25                                               By:   /s/ Aaron D. Sadock
                                                        Aaron D. Sadock
 26                                                     Attorneys for Defendants

 27

 28                                -3-
        DEFENDANTS’ NOTICE OF JOINT MOTION AND JOINT MOTION FOR
                         DISCOVERY SANCTIONS
Case 3:19-cv-00160-WQH-BLM Document 14 Filed 02/08/19 PageID.191 Page 4 of 4




  1

  2
      Date: February 8, 2019            LAW OFFICES OF DANIEL A.
                                        KAPLAN
  3

  4                                         By:   /s/ Daniel A. Kaplan
                                                  Daniel A. Kaplan
  5                                               Attorneys for Defendants
  6

  7

  8

  9

 10

 11

 12

 13

 14

 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28                                -4-
        DEFENDANTS’ NOTICE OF JOINT MOTION AND JOINT MOTION FOR
                         DISCOVERY SANCTIONS
